Case 1:21-cv-01456-GBW Document 228 Filed 07/12/23 Page 1 of 4 PageID #: 7573




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                                            July 12, 2023

VIA CM/ECF AND HAND DELIVER

The Honorable Gregory B. Williams
United States District Court, District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 26, Room 6124
Wilmington, DE 19801-3555

          Re: CBV, Inc. v. ChanBond, LLC, et al., C.A. No. 1:21-cv-01456-GBW

Dear Judge Williams:

         I write on behalf of Plaintiff CBV, Inc. (“CBV”) in the above-referenced action in
furtherance of my letter filed last night [D.I. 226]. Due to what CBV views as underhanded tactics
by Leane Defendants, the parties were unable to reach agreement of a stipulated final judgment
despite CBV’s consistent transparency regarding its intent to appeal the prior rulings of this Court.
Following email exchanges over the past week, CBV proposed a stipulated final judgment to Leane
Defendants on the morning of July 10. Leane Defendants in response required an unnecessary and
untenable concession by CBV regarding a narrow contractual interpretation question at 4:18pm
for the first time, less than an hour before the Court’s deadline to file the stipulated final judgment.
CBV respectfully requests that the Court either (1) schedule limited letter briefing relating to
summary judgment on the narrow contractual interpretation question disputed between the parties;
or (2) enter the proposed final judgment attached hereto as Exhibit A that preserves CBV’s right
to assert a declaratory judgment claim relating to the disputed contractual term in a new action in
this Court.

        The case at hand centers upon interpretation of a Patent Purchase Agreement (the “PPA”)
entered between CBV and Defendant ChanBond, LLC (“ChanBond”), and an Advisory Services
Agreement (the “ASA”) entered between ChanBond and Defendant IPNAV, LLC (together with
Defendant Dierdre Leane, “Leane Defendants”). The ASA was entered as an acknowledged
“Affiliate” agreement which was executed on behalf of both ChanBond and IPNAV by Ms. Leane,
with percentage-based payment terms to benefit Leane. Ms. Leane later sold ChanBond to its
current owners and sought payment called for by the ASA in an arbitration proceeding which
intentionally excluded CBV.
Case 1:21-cv-01456-GBW Document 228 Filed 07/12/23 Page 2 of 4 PageID #: 7574




July 12, 2023
Page - 2 -


          CBV’s December 6, 2021 Amended Complaint [D.I. 6] therefore sought a declaration that
ChanBond “breached the PPA by entering into the ASA without the prior approval of CBV.” In
filing its complaint, CBV was unaware of the status of the arbitration between Leane Defendants
and ChanBond, and this Court did not have jurisdiction over Leane Defendants. CBV subsequently
learned that Leane Defendants prevailed in the arbitration against ChanBond, after which Leane
Defendants intervened in this action with a counterclaim against CBV [D.I. 41] seeking
declarations that the “PPA does not strip ChanBond of the authority to enter into contracts without
CBV’s approval…”; and that because IPNAV and ChanBond are not current Affiliates “any
payment from ChanBond to IPNAV under the ASA … may be deducted from Gross Recoveries
in calculating Net Recoveries under the PPA regardless of whether CBV approved the payment to
IPNAV.” Two questions of law regarding interpretation of the PPA have therefore been presented
to the Court – (1) did the PPA grant CBV the right to pre-approve entry into the ASA; and (2) did
the PPA grant CBV the right to pre-approve payments made to Leane Defendants pursuant the
ASA’s percentage-based payment terms established by that Affiliate transaction.

         The Court addressed the first of these questions in its October 5, 2022 Memorandum
Opinion and Order denying CBV’s Motion for Preliminary Injunction. [D.I. 151]. The Court held
“§ 2.8 is a definition which provides a limitation to what costs and fees require pre-approval from
CBV to be eligible as a deduction when calculating Net Recoveries. Contrary to its position, § 2.8
does not purport to grant CBV an unfettered right of consent before ChanBond enters into any
affiliate agreement.” Id. at 11-12. The Court did not make any determination as to the second
contractual dispute -- whether the costs and fees payable to Leane Defendants (i.e., former
Affiliates who became stakeholders pursuant the percentage-based payment terms of the ASA)
required pre-approval by CBV before they could be deducted from Gross Recoveries to calculate
Net Recoveries due CBV.

        In November 2022, ChanBond transferred funds to Leane Defendants to satisfy the
arbitration award and other disputes between them. CBV pursued settlement of its claims against
ChanBond over the next six months to reduce issues before this Court (while preserving all rights
to pursue claims against Leane Defendants). CBV then sought leave to amend its Amended
Complaint to assert a claim for unjust enrichment against Leane Defendants and to modify its
declaratory judgment claim consistent with the Court’s October 5, 2022 Memorandum Opinion
and Order and the transfer of funds from ChanBond to Leane Defendants. The Court denied CBV’s
Motion for Leave to Amend on June 8, 2023 as untimely. [D.I. 220]. With all respect to the Court’s
ruling, CBV does not believe that delays due to the nature of the negotiations between the parties,
and delays caused by Defendants, were appropriately considered. CBV intends to address this
denial in its appeal of any final judgment entered in this action.

        With the denial of CBV’s Motion for Leave to Amend, Leane Defendants were quick to
assert that “there is no longer anything left to try” in this action. Ex. B. CBV carefully considered
its options, ultimately communicating to Leane Defendants:
Case 1:21-cv-01456-GBW Document 228 Filed 07/12/23 Page 3 of 4 PageID #: 7575




July 12, 2023
Page - 3 -


        CBV believes that it is unlikely that there are any issues that remain to be litigated
       in this action. We do note that your email below does not reference the claims
       brought by Leane Defendants in this action that have not been dismissed. CBV
       also does not agree that its declaratory judgment claims have been settled. CBV
       will agree to enter a coordinated, structured final judgment, from which CBV
       intends to appeal. This final judgment would also not further prejudice CBV’s right
       to bring any claim against Leane Defendants in a new action. We are continuing
       to research the proper procedures associated with this position, but believe that the
       position reflected here is sufficient to report.

Ex. C. This position is reflected in the June 16, 2023 status report to the Court. [D.I. 224]. Any
suggestion to the contrary by Leane Defendants is wrong and self-serving.

        Based on the status report, the Court instructed the parties to negotiate a stipulated final
judgment by July 11, 2023. Once again, Leane Defendants were eager to “wrap up” this action
despite knowing that significant disputes still existed between the parties.                      Leane
Defendantsproposed a stipulated final judgment that “The declaratory judgment requested by
Leane Defendants is granted to the extent that the Court finds and declares that Section 2.8 did not
require CBV to approve, or grant CBV any right to approve, either execution of the ASA or
payment to IPNAV as a deductible expense under the PPA. The remainder of Leane Defendants’
counterclaims are dismissed without prejudice.” Ex. D, emphasis added. CBV responded that the
Third Circuit requires parties entering stipulated judgments to clearly identify the issues being
preserved for appeal and made certain revisions to the draft stipulation accordingly. See Keefe v.
Prudential Prop. & Cas. Ins. Co., 203 F.3d 218, 223 (3d Cir. 2000) (“Where the terms of a
stipulation clearly show that one of the parties has an unequivocal intention to appeal, the court
has ‘discretion to accept the appeal insofar as it relates to a prior (contested) order notwithstanding
the [parties'] later consent to the entry of the final judgment itself.’” (quoting BIW Deceived v.
Local S6, Industrial Union of Marine and Shipbuilding Workers of America, 132 F.3d 824, 828
(1st Cir.1997).

        As CBV continued to consider whether it would be able to appeal the “payment”
declaration (brought on in part by vague questions and proposed language offered by Leane
Defendants regarding the scope of CBV’s appeal), CBV ultimately determined that it would not
be able to appeal a declaration relating to whether CBV had any pre-approval right with respect to
ChandBond’s payment to Leane Defendants as it was not derived from a “disputed order.”
Therefore, on Monday morning, CBV proposed Leane Defendants dismiss its declaratory
judgment claim relating to “payment” without prejudice, just as it did with certain of its other
claims. Ex. E.

        With yesterday’s deadline looming, Leane Defendants for the first time took exception to
a change in language regarding the existence of facts left to be tried in the action. Ex. F. CBV has
consistently voiced the existence of legal questions of contractual interpretation disputed between
the parties but does not believe there are any questions of fact between the parties necessitating a
Case 1:21-cv-01456-GBW Document 228 Filed 07/12/23 Page 4 of 4 PageID #: 7576




July 12, 2023
Page - 4 -


trial. At 4:18 pm, Leane Defendants for the first time posited “If you think there's a basis remaining
for recovery absent a reversal on the 2.8 ruling, let's have that ruled on.” Ex. G. This came as an
incredible surprise to CBV. CBV always understood that an appeal of the contested orders in this
action, with a reservation of rights to pursue other legal disputes in a new action if necessary, is
the most efficient means of resolving this dispute. CBV responded that it would be willing to have
this Court hear the “payment” question on summary judgment if that was Leane Defendants’
preference. Ex. H.

        After the deadline to file a proposed final judgment passed, Leane Defendants blamed CBV
for this newfound dispute despite their creation of it, refused to agree to a stipulation extending
time to negotiate and file a stipulated final judgment, and argued that CBV is obligated to enter
the stipulation proposed by Leane Defendants. Ex. I. Such tactics and deceit have hampered a
reasonable resolution of this action.

        CBV respectfully requests the Court either set a letter briefing schedule on a motion for
summary judgment addressing Leane Defendant’s declaratory judgment claim that becasue
IPNAV and ChanBond are not current Affiliates “any payment from ChanBond to IPNAV under
the ASA … may be deducted from Gross Recoveries in calculating Net Recoveries under the PPA
regardless of whether CBV approved the payment to IPNAV;” or (2) enter the enclosed proposed
final judgment that reserves the parties right to have that question adjudicated in a separate action.

       Should Your Honor have any questions or require anything further, counsel remains
available at Your Honor’s convenience.

                                                              Respectfully submitted,

                                                              /s/ Geoffrey G. Grivner

                                                              Geoffrey G. Grivner (#4711)

Enclosures



cc:    All Counsel of Record (via CM/ECF)
       Patrick Keane, Esq.
